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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

PARTNERS HEALTHCARE sOLUTIONS )
HOLDINGS, L.P., )
)
Plaintiff, )
) c.A. No. 13-1767-RGA
V. )
) REDACTED-PUBLIC VERSION
UNIVERSAL AMERICAN cORP., §
Defendant.

DECLARATION OF REED S. OSLAN IN OPPOSITION TO
DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

 

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Original Filing Date: December 16, 2013
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DECLARATION OF REED S. OSLAN IN OPPOSITION TO
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I, Reed S. Oslan, declare as follows:

l. I arn a partner in the law finn of Kirkland & Ellis LLP, counsel for Partners
Healthcare Solutions Holdings, L.P. (“APSLP”) in the above-captioned matter. I have been
admitted to practice pro hac vice in this matter. This declaration is based on my personal
knowledge and is submitted in opposition to Universal American Corp.’s (“UAM”) motion to
dismiss this action.

2. UAM sent its first letter to APSLP threatening litigation on March l, 2013. Over
the next seven months, APSLP made repeated efforts to reach a good--faith resolution of the
parties’ disputes, including offering to enter into a standstill and tolling agreement precluding
either party from filing suit during the negotiation period -- a proposal that UAM rejected These

negotiations culminated in a two-day mediation on September 16-17, 2013, conducted by a

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nationally recognized mediator, Kenneth Feinberg. But this settlement process was derailed
when UAM interjected an entirely new claim into the dispute (relating to a contract with the
State of - the day after the mediation UAM compounded the problem by demanding
that APSLP accede to its settlement demands with respect to the previously disclosed claims
before APSLP had an opportunity to investigate this new _claim, setting What it
acknowledges Was an October 21, 2013 “deadline” for a settlement of the claims that had been
mediated, and adding to its prior demands the new demand that APSLP and GTCR assume full
liability for the-claim

3. On October 20, 2013, David Katz, a principal of GTCR and a director of UAM,
wrote a letter to UAM’s chief executive officer protesting UAM’s exclusion of APSLP and
GTCR from the defense of the _claim, requesting that the parties mutually agree on the
selection of defense counsel for the claim, and explaining that GTCR and APSLP needed access
to information and more time to evaluate the -issues before they could continue the
settlement negotiations (Levander Decl., D.I. 14, Ex. D, p. 2) Katz urged that it would “be
better and more cost effective for all parties to proceed to get to the bottom of -first
rather than engaging in a piecemeal litigation strategy.” (Id.) UAM’s motion to dismiss
indirectly confirms that it rejected Mr. Katz’s request for time to evaluate the-claim,
acknowledging that UAM’s counsel told APSLP’s counsel the next day, October 21st, “that
Universal was prepared to wait a few more days to hear APSLP’s response before filing suit.”
(ld., Levander Dec. 11 9, emphasis added) Offering only a “few days” was an obvious rejection
of GTCR’s and APSLP’s request for reasonable time to investigate and evaluate the-

claim.

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4. UAM’s rejection of APSLP’s request for its cooperation in investigating and
evaluating the new-claim was further confirmed on the evening of October 21 st, when
UAM sent me an e-mail that expressly and unequivocally closed the door to further settlement
negotiations (l later deleted that e-mail from my in-box at the request of UAM’s counsel, but if
UAM persists in falsely accusing APSLP of deception in the events leading up to the filing of the
Delaware Chancery Court action, I can arrange for it to be retrieved.) Under the circumstances
UAM deliberately and unmistakably gave APSLP no reasonable alternative other than to file its
declaratory judgment action.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief. Executed on December 16, 2013 in Chicago, lllinois.

 

 

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CERTIFICATE OF SERVICE

l hereby certify that on December 20, 2013, l caused the foregoing to be
electronically filed With the Clerk of the Court using CM/ECF, Which will send notification of

such filing to:

Blake Rohrbacher

RICHARDS LAYTON & FINGER, P.A.
One Rodney Square

920 N. King Street

Wilmington, DE 19801

/s/ Rvan D. Stottmann
Ryan D. Stottmann (#5237)

